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  Case:
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        1:14-cv-06056
                    Document
                      Document
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
                                190-4
                                   40 Filed:
                                       Filed:01/15/15
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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                                   40 Filed:
                                       Filed:01/15/15
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                                                                     PageID#:335
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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                                   40 Filed:
                                       Filed:01/15/15
                                              10/18/17Page
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                                                                     PageID#:336
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
                                190-4
                                   40 Filed:
                                       Filed:01/15/15
                                              10/18/17Page
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                                                                     PageID#:337
                                                                            #:2622
Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
                                190-4
                                   40 Filed:
                                       Filed:01/15/15
                                              10/18/17Page
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                                                                     PageID#:338
                                                                            #:2623
Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
                                190-4
                                   40 Filed:
                                       Filed:01/15/15
                                              10/18/17Page
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                                                                     PageID#:339
                                                                            #:2624
Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
                                190-4
                                   40 Filed:
                                       Filed:01/15/15
                                              10/18/17Page
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                                                                     PageID#:340
                                                                            #:2625
Case:
  Case:
      1:14-cv-06056
         1:14-cv-06056
                    Document
                       Document
                             #: 190-4
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                                      Filed: 01/15/15
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
                                190-4
                                   40 Filed:
                                       Filed:01/15/15
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
                                190-4
                                   40 Filed:
                                       Filed:01/15/15
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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                                   40 Filed:
                                       Filed:01/15/15
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                                                                      PageID#:344
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
                                190-4
                                   40 Filed:
                                       Filed:01/15/15
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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  Case:
      1:14-cv-06056
        1:14-cv-06056
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                             #: #:
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  Case:
      1:14-cv-06056
        1:14-cv-06056
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                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
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                      Document
                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
                                190-4
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
                                190-4
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                                       Filed:01/15/15
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Case:
  Case:
      1:14-cv-06056
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                    Document
                      Document
                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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                                       Filed:01/15/15
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                                                                      PageID#:358
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
                                190-4
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                                       Filed:01/15/15
                                              10/18/17Page
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                                                                      PageID#:360
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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                                                                      PageID#:361
                                                                             #:2646
Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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                                       Filed:01/15/15
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
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                      Document
                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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                                       Filed:01/15/15
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                                                                      PageID#:364
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
                                190-4
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                                                                      PageID#:365
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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                                       Filed:01/15/15
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                                                                      PageID#:366
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  Case:
      1:14-cv-06056
        1:14-cv-06056
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                      Document
                             #: #:
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  Case:
      1:14-cv-06056
        1:14-cv-06056
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                      Document
                             #: #:
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  Case:
      1:14-cv-06056
        1:14-cv-06056
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  Case:
      1:14-cv-06056
        1:14-cv-06056
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                      Document
                             #: #:
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  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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  Case:
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        1:14-cv-06056
                    Document
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                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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  Case:
      1:14-cv-06056
        1:14-cv-06056
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                      Document
                             #: #:
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  Case:
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        1:14-cv-06056
                    Document
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                             #: #:
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  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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                                       Filed:01/15/15
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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                                                                      PageID#:386
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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                                       Filed:01/15/15
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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                                   40 Filed:
                                       Filed:01/15/15
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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                                       Filed:01/15/15
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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                                       Filed:01/15/15
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                                                                      PageID#:395
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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                                       Filed:01/15/15
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                                                                      PageID#:396
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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                                       Filed:01/15/15
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                                                                      PageID#:397
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
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                                                                      PageID#:398
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
                                190-4
                                   40 Filed:
                                       Filed:01/15/15
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                                                                   73PageID
                                                                      PageID#:399
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Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
                                190-4
                                   40 Filed:
                                       Filed:01/15/15
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                                                                      PageID#:400
                                                                             #:2685
Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
                                190-4
                                   40 Filed:
                                       Filed:01/15/15
                                              10/18/17Page
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                                                                      PageID#:401
                                                                             #:2686
Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
                                190-4
                                   40 Filed:
                                       Filed:01/15/15
                                              10/18/17Page
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                                                                      PageID#:402
                                                                             #:2687
Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
                                190-4
                                   40 Filed:
                                       Filed:01/15/15
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                                                                      PageID#:403
                                                                             #:2688
Case:
  Case:
      1:14-cv-06056
        1:14-cv-06056
                    Document
                      Document
                             #: #:
                                190-4
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                                       Filed:01/15/15
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